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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

VICKI TIMPA, et al.,                             §
                                                 §
     Plaintiffs,                                 §
                                                 §
v.                                               §   Civil Action No. 3:16-CV-03089-N
                                                 §
DUSTIN DILLARD, et al.,                          §
                                                 §
     Defendants.                                 §

                        FOURTH AMENDED SCHEDULING ORDER

         Defendants’ motion to continue [215] is granted. Pursuant to Rule 16(b) of the

Federal Rules of Civil Procedure, the Local Rules of this Court (“LR”), and the Civil

Justice Expense and Delay Reduction Plan (the “Plan”) for the Northern District of

Texas, the Court ORDERS as follows:


         1.        This case is reset for trial on July 17, 2023. The setting is for a one week

docket. Reset or continuance of the trial setting does not alter the deadlines in this Order

unless expressly provided by court order.


         2.        The parties may by written agreement alter the deadlines in this paragraph,

without the need for court order. No continuance of trial will be granted due to agreed

extensions of these deadlines. Motions may become moot due to trial if filed after the

deadline in this Order.




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       a.     100 days before trial – disclosure of opposing experts pursuant to Rule

26(a)(2);


       b.     90 days before trial – disclosure of rebuttal experts pursuant to Rule

26(a)(2) or supplementation with rebuttal opinions pursuant to Rule 26(e)(1);


       c.     February 10, 2023 – fact discovery closes; discovery requests must be

served in time to permit response by this date;


       d.     75 days before trial – expert discovery closes; all motions, including any

objections to expert testimony, must be filed.


       3.     The parties shall file all pretrial materials 30 days before trial. Failure to file

pretrial materials may result in dismissal for want of prosecution. Pretrial materials shall

include the following:

       a.     pretrial order pursuant to LR 16.4;


       b.     exhibit lists, witness lists, and deposition designations pursuant to LR 26.2

and Rule 26(a)(3); witness lists should include a brief summary of the substance of

anticipated testimony (not just a designation of subject area) and an estimate of the length

of direct examination; exhibit lists must include any materials to be shown to the jury,

including demonstrative aids; the parties shall comply with Rule 26(a)(3) regarding

objections;


       c.     proposed jury charge pursuant to LR 51.1 or proposed findings of fact and

conclusions of law pursuant to LR 52.1; any objections to the proposed jury charge shall

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be filed within 14 days thereafter; objections not so disclosed are waived unless excused

by the court for good cause;


       d.      motions in limine; matters that are not case-specific are strongly

discouraged;


       e.      requested voir dire questions.


       4.      The final pretrial conference will be set by separate order or notice. Lead

counsel must attend the pretrial conference.         The Court will likely impose time

limitations for trial at the pretrial conference. Examination of witnesses will be limited to

direct, cross, re-direct, and re-cross. Any questions regarding this Order may be directed

to the Court’s Judicial Assistant, Donna Hocker Beyer, at 214-753-2700.


       Signed February 7, 2023.




                                                           David C. Godbey
                                                    Chief United States District Judge




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